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 1                              UNITED STATES DISTRICT COURT

 2
                                        DISTRICT OF NEVADA
 3 S. SEANAH DIXON,                                             Case No. 2:21-cv-02133-APG-VCF
   (#62866), aka Sean J. Dixon
 4                                             Plaintiff                     ORDER

 5          v.
     MICHAEL MINEV, et al.,
 6
                                           Defendants
 7

 8

 9         S. Seanah Dixon is an inmate in the custody of the Nevada Department of Corrections

10 (NDOC). On December 1, 2021, Dixon submitted a civil rights complaint under 42 U.S.C.

11 § 1983 and filed an application to proceed in forma pauperis. ECF Nos. 1-1, 1. The application

12 to proceed in forma pauperis is incomplete. Plaintiff did not submit with the application a

13 financial certificate or an inmate account statement for the previous six-month period.

14         Under 28 U.S.C. § 1915(a)(2) and Local Rule LSR 1-2, an inmate seeking to begin a civil

15 action in this court may apply to proceed in forma pauperis in order to file the civil action

16 without prepaying the full $402 filing fee. To apply for in forma pauperis status, the inmate

17 must submit all three of the following documents to the court:

18         (1) a completed Application to Proceed in Forma Pauperis for Inmate on this court’s

19         approved form (i.e., pages 1 through 3 with the inmate’s two signatures on page 3),

20         (2) a Financial Certificate properly signed by both the inmate and a prison or jail

21         official (i.e., page 4 of this court’s approved form), and

22         (3) a copy of the inmate’s prison or jail trust fund account statement for the previous

23         six-month period.
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 1         Because the application to proceed in forma pauperis (ECF No. 1) is incomplete, I deny

 2 it without prejudice. I will grant Dixon a one-time extension to file a fully complete application

 3 containing all three of the required documents. Dixon will file a fully complete application to

 4 proceed in forma pauperis by February 4, 2022. Absent unusual circumstances, I will not grant

 5 any further extensions of time. If Dixon does not file a fully complete application to proceed in

 6 forma pauperis with all three required documents by February 4, 2022, this case will be subject

 7 to dismissal without prejudice for Dixon to file a new case when Dixon is able to acquire all

 8 three of the documents needed to file a fully complete application or pay the full $402 filing fee.

 9         A dismissal without prejudice means Dixon does not give up the right to refile the case

10 under a new case number when Dixon has all three documents needed to submit with the

11 application to proceed in forma pauperis. Alternatively, Dixon may choose not to file an

12 application to proceed in forma pauperis and instead pay the full filing fee of $402 by February

13 4, 2022 to proceed with this case.

14         I will retain Dixon’s civil rights complaint (ECF No. 1-1) but it will not be filed unless

15 and until Dixon timely files a fully complete application to proceed in forma pauperis with all

16 three documents or pays the full $402 filing fee.

17         I THEREFORE ORDER that the plaintiff’s application to proceed in forma pauperis

18 (ECF No. 1) is denied without prejudice to file a new fully complete application to proceed in

19 forma pauperis with all three documents.

20         I FURTHER ORDER the Clerk of the Court to send Dixon the approved form application

21 to proceed in forma pauperis by an inmate, as well as the document entitled information and

22 instructions for filing an in forma pauperis application.

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 1          I FURTHER ORDER that by February 4, 2022, Dixon will either pay the full $402

 2 filing fee for a civil action (which includes the $350 filing fee and the $52 administrative fee) or

 3 file with the court:

 4          (1) a completed Application to Proceed in Forma Pauperis for Inmate on this court’s

 5          approved form (i.e., pages 1 through 3 of the form with the inmate’s two signatures on

 6          page 3),

 7          (2) a Financial Certificate properly signed by both the inmate and a prison or jail

 8          official (i.e., page 4 of this court’s approved form), and

 9          (3) a copy of the inmate’s prison or jail trust fund account statement for the previous

10          six-month period.

11          I FURTHER ORDER that, if Dixon does not file a fully complete application to proceed

12 in forma pauperis with all three documents or pay the full $402 filing fee for a civil action by

13 February 4, 2022, this case will be subject to dismissal without prejudice for Dixon to refile the

14 case under a new case number, when Dixon has all three documents needed to file a complete

15 application to proceed in forma pauperis or pays the the full $402 filing fee.

16          I FURTHER ORDER the Clerk of the Court to retain the complaint (ECF No. 1-1) but

17 will not file it at this time.

18          DATED: December 6, 2021.

19                                                 ___________________________________
                                                   ANDREW P. GORDON
20                                                 UNITED STATES DISTRICT JUDGE

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